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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)          ‫ ܆‬Original     ‫ ܆‬Duplicate Original


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                                     UNITED STATES DISTRICT COURT                                 02/28/2025
          02/28/2025
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                                                Central District of California

 UNITED STATES OF AMERICA,

                      Plaintiff,                                      81'(56($/
                      v.
                                                                     Case No. 2:25-mj-01068
 JOSEPH NEAL SANBERG,

                      Defendant.


                                    CRIMINAL COMPLAINT BY TELEPHONE
                                   OR OTHER RELIABLE ELECTRONIC MEANS
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of at least January 2020 through to the present in the county of Los Angeles in the

Central District of California, the defendant(s) violated:

            Code Section                         Offense Description
            18 U.S.C. § 1349                     Conspiracy to Commit Wire Fraud

          This criminal complaint is based on these facts:
           Please see attached affidavit.

          _ Continued on the attached sheet.
                                                                                     /s/ Alfred Herzog
                                                                                  Complainant’s signature

                                                                          Alfred Herzog, U.S. Postal Inspector
                                                                                   Printed name and title

Attested to by the applicant in accordance with the requirements
                                                            ents of Fed. R. Crim. P. 4.1 by
                                                                                          y ttelephone.
                                                                                              eellep
                                                                                                 l
 Date:                     February 28, 2025
                                                                                   Judge’s signature

 City and state: Santa Ana, California                        Hon. Douglas F. McCormick, U.S. Magistrate Judge
                                                                                 Printed name and title


AUSA: Brett Sagel (714-338-3598)
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                                   AFFIDAVIT

I, ALFRED HERZOG, being duly sworn, declare and state as follows:

                          I.    PURPOSE OF AFFIDAVIT

      1.    This affidavit is made in support of a criminal complaint

and arrest warrant for JOSEPH NEAL SANBERG (“SANBERG”) for a

violation of 18 U.S.C. § 1349 (Conspiracy to Commit Wire Fraud).

      2.    The facts set forth in this affidavit are based upon my

participation in the investigation, my training and experience,

and information obtained from various law enforcement personnel

and witnesses.       This affidavit is intended to show merely that

there is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge    of    or     investigation        into    this    matter.       Unless

specifically indicated otherwise, all conversations and statements

described in this affidavit are relayed in substance and in part

only, all dates are on or about those indicated, and all dollar

values are approximate.

           II.    BACKGROUND OF USPIS INSPECTOR ALFRED HERZOG

      3.    I am a United States Postal Inspector employed by the

United States Postal Inspection Service, and I have been employed

as a United States Postal Inspector since 2003.                     Prior to being

employed as a United States Postal Inspector, I was employed as a

Special Agent with the United States Secret Service for three

years.     Throughout my career, I have been involved in numerous

arrests,    served   as    a   witness   in      criminal     and   administrative

proceedings, and have been the Affiant on numerous federal search

warrant and arrest warrant affidavits.                   While assigned to the
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Philadelphia Division of USPIS, I primarily investigated mail

theft, identity theft, mail fraud, drug trafficking and related

crimes. Since June 2023, I have been assigned on a temporary basis

to a USPIS mail fraud team located in the Fraud Section of the

U.S. Department of Justice’s Criminal Division in Washington, DC.

                    III. SUMMARY OF PROBABLE CAUSE

      4.    From   January   2020,     and      continuing     through    to   the

present, within the Central District of California and elsewhere,

SANBERG did knowingly, and intentionally, that is, with the intent

to advance the conspiracy, combine, conspire, and agree with other

individuals to commit certain offenses against the United States,

namely wire fraud, that is, to knowingly, and with the intent to

defraud, having devised and intending to devise a scheme and

artifice to defraud, and to obtain money and property by means of

materially false and fraudulent pretenses, representations, and

promises, knowing such pretenses, representations, and promises

were false and fraudulent when made, transmit and cause to be

transmitted, by means of wire communications in interstate and

foreign commerce, writings, signals, pictures, and sounds, for the

purpose of executing such scheme and artifice, in violation of

Title 18, United States Code, Section 1343.

      5.    In furtherance of the conspiracy, and to accomplish its

object, the methods, manner, and means that were used are described

in paragraphs 6 through 42 of this Complaint.                      Specifically,

SANBERG conspired with Ibrahim Ameen AlHusseini (“ALHUSSEINI”),

and others known and unknown, to make, and cause to be made,

materially false and fraudulent representations and promises by
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means of wire communications in interstate and foreign commerce,

to induce two investor funds (“INVESTOR FUND A” and “INVESTOR FUND

B”)   to   issue    two   loans,   for    $55       million   and   $145   million,

respectively, to SANBERG through SANBERG’s closely held entity.

The loans were collateralized by SANBERG’s pledge of approximately

10.3 million shares in COMPANY A, a private company that SANBERG

had co-founded and of which SANBERG was the largest shareholder.

      6.      To secure the loans, SANBERG induced INVESTOR FUND A and

INVESTOR FUND B to purchase put option agreements from SANBERG’s

associate, ALHUSSEINI, as a type of financial guarantee for the

loans issued to SANBERG.           Under those put option agreements, in

the   event    of   SANBERG’s   default        on    the   loan,    ALHUSSEINI   was

obligated to purchase the 10.3 million pledged shares of COMPANY

A   stock.      Specifically,      if   SANBERG       defaulted     on   the   loans,

ALHUSSENI would be required to pay $55 million to INVESTOR FUND A,

and later $75 million to INVESTOR FUND B, to purchase SANBERG’s

pledged COMPANY A shares.          Accordingly, the put options required

ALHUSSEINI to have sufficient assets to pay the put option amount
to INVESTOR FUND A and INVESTOR FUND B in the event of SANBERG’s

default.

      7.      SANBERG knew at all relevant times that ALHUSSEINI did

not have the required assets.            SANBERG conspired with ALHUSSEINI

to provide falsified financial statements to INVESTOR FUND A, and

INVESTOR FUND B, and INVESTMENT ADVISER 1, which advised the two

funds, to support the put options required to secure SANBERG’s

loans.     The falsified financial statements inflated ALHUSSEINI’s

personal wealth by tens of millions of dollars and induced INVESTOR
                                         3
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FUND A and INVESTOR FUND B to each purchase a put option from

ALHUSSEINI.

      8.    As a result of the conspiracy to defraud, INVESTOR FUND

B lost at least $145 million.

                   IV.    STATEMENT OF PROBABLE CAUSE

      A.    Background on Relevant Individuals and Entities


      9.    SANBERG   was,   at   relevant       times,     a   resident   of   Los

Angeles, California, within the Central District of California,

and a co-founder and shareholder of COMPANY A.

      10.   ALHUSSEINI was, at relevant times, a resident of Los

Angeles, California, and a citizen of the United States and Saudi

Arabia. 1

      11.   COMPANY A was a private company that maintained its

principal office in Los Angeles County, California, within the

Central District of California.               COMPANY A provided consumer

financial products and sustainability services.                 SANBERG was a co-

founder of COMPANY A and its largest shareholder, and SANBERG and

ALHUSSEINI served on the board of directors of COMPANY A.

      12.   INVESTOR FUND A was an investment fund that loaned

investors’ capital to high-net-worth borrowers, with its principal

place of business in New York, New York.




      1ALHUSSEINI was charged by information under seal on January
21, 2025, with one count of wire fraud, in violation of 18 U.S.C.
§ 1343, and is expected to plead guilty. See United States v.
AlHusseini, Case No. 25-CR-42-SVW (C.D. Cal.). A change-of-plea
hearing is set for March 3, 2025.
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      13.   INVESTOR FUND B was an investment fund that loaned

investors’ capital to high-net-worth borrowers, with its principal

place of business in New York, New York.

      14.   INVESTMENT ADVISER 1 was a securities investment adviser

that advised INVESTOR FUND A and INVESTOR FUND B, and maintained

offices in New York, New York.

      15.   GRAPHIC DESIGNER 1 was an individual living in Lebanon

and an associate of ALHUSSEINI.

      16.   FMR LLC d/b/a Fidelity Investments (“Fidelity”) was a

registered securities broker-dealer and had its headquarters in

Boston, Massachusetts.

      17.   Bank of America Corporation (“BofA”) was an investment

bank and financial services company and had its headquarters in

Charlotte, North Carolina.

 B.    SANBERG and ALHUSSEINI Conspired to Fraudulently Sell a Put

       Option to INVESTOR FUND A to Secure a $55 Million Loan for

       SANBERG


      18.   Based on my review of records from INVESTMENT ADVISER 1,
beginning no later than January 2020, SANBERG began negotiating

the terms of a $55 million loan from INVESTOR FUND A to SANBERG

through SANBERG’s closely held company.               Under the terms of the

loan, SANBERG would pledge approximately 10.3 million shares of

COMPANY A stock as collateral.

      19.   Based on my review of company records, I know that

COMPANY A was a non-public company, and there was not a liquid

market to sell COMPANY A stock.        Further, I know from a review of

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INVESTOR FUND A records that INVESTOR FUND A required SANBERG to

find a buyer for the 10.3 million shares of COMPANY A stock as a

hedge against the risk that COMPANY A’s shares could not be sold

on the open market at a value equal or greater to the value of the

$55 million loan.

      20.    Based on an interview with ALHUSSEINI, I know that to

secure the loan, SANBERG recruited ALHUSSEINI to enter a put option

agreement with INVESTOR FUND A (the “March 2020 put option”).                         A

put option is an investment contract in which the seller is

obligated to purchase an asset from the buyer at a pre-determined

price at the buyer’s option.            Put options can operate to hedge the

risk that an asset may lose value by lining up a buyer willing to

pay a set price, typically in exchange for a risk premium.

      21.    In this instance, I know from INVESTOR FUND A records

that the March 2020 put option obligated ALHUSSEINI, and two

entities that ALHUSSEINI controlled, to purchase the 10.3 million

shares of COMPANY A stock from INVESTOR FUND A for $55 million if

SANBERG defaulted on the loan and INVESTOR FUND A took possession
of the shares pledged as collateral.

      22.    I know based on INVESTOR FUND A records and interviews

with ALHUSSEINI that, as a condition of making the loan to SANBERG,

INVESTMENT    ADVISER     1    sought      information       and   documentation     to

verify that ALHUSSEINI had sufficient liquid assets to pay $55

million for the shares of COMPANY A stock in the event of SANBERG’s

default.

      23.    The put option acted as a form of a financial guarantee

on the $55 million loan from INVESTOR FUND A to SANBERG by
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mitigating the risk to INVESTOR FUND A if SANBERG defaulted on the

loan.     Representatives of INVESTOR FUND A have told me that the

$55 million loan to SANBERG was contingent on INVESTOR FUND A

entering into the March 2020 put option agreement with ALHUSSEINI.

        24.    Based on my review of written messages between SANBERG

and ALHUSSEINI, I know that SANBERG knew that ALHUSSEINI did not

have    sufficient       assets     to    cover     the     $55    million      put    option

obligation. SANBERG, however, took actions to prevent INVESTMENT

ADVISER 1 from discovering this fact.                  For example, on January 25,

2020,    SANBERG       advised    ALHUSSEINI         what     to    say    to    INVESTMENT

ADVISER 1 in order to defraud INVESTOR FUND A into entering into

the    March    2020     put     option     with      ALHUSSEINI       based      on    false

representations and false pretenses.                    SANBERG advised ALHUSSEINI

about the “key points” to convey to INVESTMENT ADVISER 1 about

SANBERG and COMPANY A to successfully sell the put option. SANBERG

advised ALHUSSEINI to say that:

               a.     ALHUSSEINI     “want[ed]          the       entire    []    put     for

[him]self”          rather   than    including         other       guarantors         because
ALHUSSEINI thought the opportunity to acquire 10.3 million COMPANY

A shares for the strike price of the put option was such a good

deal;

               b.     ALHUSSEINI was “extremely familiar” with COMPANY

A’s future financial prospects and therefore ALHUSSEINI believed

he was “basically getting free money with the premium;”

               c.     ALHUSSEINI     should       provide     “[p]ositive         character

references about [SANBERG];”


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               d.    ALHUSSEINI should request a 10% up-front payment

(also known as a “premium payment”) for the put option because,

“if there isn’t a put premium for the put seller they will be

suspicious.         No legitimate seller of a put would do so without

demanding an up-front premium.”

        25.    Records   provided      by        ALHUSSEINI        reflect    that    the

following day, on January 26, 2020, SANBERG introduced ALHUSSEINI

to INVESTMENT ADVISER 1 as an interested seller of the put option.

        26.    Based on a review of ALHUSSEINI’s financial documents,

I know that ALHUSSEINI did not have sufficient assets to fulfill

these    net    worth    requirements.             During        interviews    with   law

enforcement,        ALHUSSEINI   has        confirmed        that      ALHUSSEINI     and

ALHUSSEINI’s two co-signing entities did not have enough assets to

purchase the 10.3 million shares of COMPANY A stock in the event

of SANBERG’s default.        ALHUSSEINI has also confirmed that SANBERG

was aware that ALHUSSEINI did not have sufficient assets.

        27.    Nonetheless, from January 26, 2020, through at least

March 16, 2020, SANBERG continued to conspire with ALHUSSEINI to
falsify and conceal ALHUSSEINI’s true financial assets to induce

INVESTOR FUND A to purchase the put option from ALHUSSEINI.                           For

example:

               a.    On February 4, 2020, ALHUSSEINI sent SANBERG a

template spreadsheet showing a sample investment portfolio for

ALHUSSEINI from several years earlier.                  During interviews with law

enforcement, ALHUSSEINI stated that this template spreadsheet was

not an accurate reflection of his portfolio and that he told

SANBERG the spreadsheet was “hypothetical.”                       SANBERG revised the
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 portfolio        template    to     falsely        represent      that      it   showed

 ALHUSSEINI’s assets as of December 31, 2019, and re-titled the

 document     “Husseini      Group    Asset       Overview.”       Later     that   day,

 ALHUSSEINI’s counsel sent the false chart edited by SANBERG to

 INVESTMENT ADVISER 1 as a false representation of ALHUSSEINI’s

 assets.

              b.     On February 6, 2020, SANBERG counseled ALHUSSEINI

 regarding how to avoid sending ALHUSSEINI’s financial statements

 to INVESTMENT ADVISER 1.           Specifically, SANBERG advised ALHUSSEINI

 to have ALHUSSEINI’s “lawyer attest to it rather than showing them

 statements.”       Based on law enforcement interviews with ALHUSSEINI,

 I believe SANBERG gave this advice because SANBERG knew that

 ALHUSSEINI’s       true     financial       statements       would    reflect      that

 ALHUSSEINI had insufficient funds to cover the put option.

              c.     On February 21, 2020, INVESTMENT ADVISER 1 asked

 ALHUSSEINI to transfer ALHUSSEINI’s liquid assets to a segregated

 account     so    INVESTMENT      ADIVSER    1    could     monitor   the    balances.

 SANBERG knew that if ALHUSSEINI agreed to the transfer request,
 INVESTMENT ADVISER 1 would discover that SANBERG and ALHUSSEINI

 were fraudulently concealing ALHUSSEINI’s true financial status.

 In response, SANBERG accused INVESTMENT ADVISER 1 of acting in bad

 faith and threatened to call off the deal to deflect the request.

       28.    I    know    from    records        provided    by   ALHUSSEINI       that,

 beginning February 23, 2020, SANBERG and ALHUSSEINI prepared false

 brokerage and bank statements to present to INVESTMENT ADVISER 1

 and to defraud INVESTOR FUND A.                    I have reviewed SANBERG and

 ALHUSSEINI’s emails with INVESTMENT ADVISER 1 concerning financial
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 statements, and I have reviewed Signal (an encrypted messaging

 application) and text messages provided by ALHUSSEINI between

 SANBERG and ALHUSSEINI regarding their plan to create and submit

 falsified asset statements to INVESTMENT ADVISER 1.                   For example:

             a.      On   February     23,     2020,    SANBERG    and    ALHUSSEINI

 discussed the falsified statement balance that would be reflected

 on the falsified statements.            ALHUSSEINI expressed concern that

 “having an 84m [$84 million] statement will hurt us” because

 INVESTMENT ADVISER 1 would be more likely to ask for documentation

 on a single large account than on multiple smaller accounts under

 $50 million. SANBERG and ALHUSSEINI also met with GRAPHIC DESIGNER

 1   in   person    to    create    falsified     brokerage     and    bank   account

 statements for ALHUSSEINI.

             b.      On March 10, 2020, INVESTMENT ADVISER 1 requested

 ALHUSSEINI’s current bank account statements.                     Later that day,

 ALHUSSEINI sent SANBERG falsified Fidelity and BofA statements in

 ALHUSSEINI’s name, asking SANBERG to “[p]lease confirm all in

 order.”     Later that day, from within the Central District of
 California,       ALHUSSEINI      submitted     the   falsified      statements   to

 INVESTMENT ADVISER 1, claiming that those falsified statements

 were a true and accurate securities brokerage account statement as

 of December 31, 2019, of ALHUSSENI’s investment portfolio with

 Fidelity.         ALHUSSEINI’s     falsified      Fidelity     account    statement

 falsely represented that ALHUSSEINI held more than $86 million in

 securities in accounts at Fidelity.                 In fact, ALHUSSEINI’s true

 Fidelity account statements show that a total of $4,390.10 was in

 the account as of December 31, 2019.                  According to ALHUSSEINI,
                                         10
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 SANBERG and ALHUSSEINI agreed to falsify these statements to

 defraud INVESTOR FUND A and to finalize the deal for the March

 2020 put option that was a precondition for the $55 million loan

 to SANBERG.

             c.     On March 13, 2020, INVESTMENT ADVISER 1 requested

 ALHUSSEINI to submit a “snapshot” of his account statements.

 ALHUSSEINI emailed a screenshot of his true BofA account to GRAPHIC

 DESIGNER 1.      ALHUSSEINI later forwarded a falsified BofA statement

 received from GRAPHIC DESIGNER 1 to SANBERG.

       29.   Based on my review of records from INVESTMENT ADVISER 1,

 I know that on March 16, 2020, SANBERG and INVESTMENT ADVISER 1

 executed a $55 million loan from INVESTOR FUND A to SANBERG through

 SANBERG’s closely held company, and INVESTOR FUND A simultaneously

 purchased the March 2020 put option from ALHUSSEINI.

  C.    SANBERG Refinanced the Loan and Obtained $145 Million from

        INVESTOR FUND B Guaranteed by a $65 Million Put Option by

        ALHUSSEINI


       30.   Based on records from INVESTMENT ADVISER 1, I know that
 on November 4, 2021, SANBERG refinanced the $55 million loan

 against his 10.3 million shares of COMPANY A stock.                Under the

 refinanced loan, INVESTOR FUND B loaned $145 million to SANBERG,

 and SANBERG pledged the same 10.3 million shares of COMPANY A stock

 as collateral.

       31.   As a condition of making the refinanced $145 million

 loan to SANBERG, INVESTMENT ADVISER 1 negotiated for INVESTOR FUND

 B to purchase a new put option from ALHUSSEINI, in which ALHUSSEINI

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 was obligated to pay $65 million to INVESTOR FUND B in the event

 that SANBERG defaulted on the $145 million loan (the “November

 2021 put option”).         Again, the terms of the November 2021 put

 option required that ALHUSSEINI have sufficient assets to pay $65

 million to INVESTOR FUND B in the event of SANBERG’s default.

       32.     I know from records provided by INVESMENT ADVISER 1 that

 under the terms of the November 2021 put option, approximately

 $6.3 million was to be paid to ALHUSSEINI at the time of execution

 as a premium payment in consideration for guaranteeing SANBERG’s

 repayment of the loan.

       33.     ALHUSSEINI has stated in interviews with law enforcement

 that SANBERG and ALHUSSEINI again agreed to falsify ALHUSSEINI’s

 asset statements and send them to INVESTMENT ADVISER 1 to defraud

 INVESTOR FUND B.         For example, on November 4, 2021, ALHUSSEINI

 directed his agent to send an email to INVESTMENT ADVISER 1, which

 contained a falsified Fidelity account statement as of September

 30,   2021.       The    account   statement   falsely     represented     that

 ALHUSSEINI held more than $199 million in securities in accounts
 at Fidelity.     ALHUSSEINI also sent a falsified BofA statement that

 falsely represented that as of September 22, 2021, ALHUSSEINI held

 more than $21 million in his accounts.

       34.     In fact, ALHUSSEINI’s true Fidelity account statements

 show that as of September 30, 2021, ALHUSSEINI’s Fidelity accounts

 held a total of approximately $2,693.63. ALHUSSEINI’s BofA account

 statement shows that as of September 22, 2021 held approximately

 $11,556.89.


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 D.    SANBERG Directed GRAPHIC DESIGNER 1 and ALHUSSEINI to Send

       Falsified Brokerage Account Statements to INVESTMENT

       ADVISER 1


       35.   To    maintain   and   conceal    SANBERG     and   ALHUSSEINI’s

 deception of INVESTMENT ADVISER 1, INVESTOR FUND A, and INVESTOR

 FUND B, ALHUSSEINI conspired with SANBERG to continue to submit

 falsified brokerage statements to INVESTMENT ADVISER 1 on at least

 24 occasions between April 2020 and February 2023.

       36.   Based on my review of records from INVESTMENT ADVISER 1,

 Fidelity, and BofA, ALHUSSEINI’s falsified brokerage statements

 were altered to falsely represent that ALHUSSEINI’s brokerage

 account held highly liquid and publicly tradeable securities that

 were, depending on the month and year, worth between approximately

 $80 million to $200 million.           In fact, ALHUSSEINI’s brokerage

 account during this period held between approximately $2,000 and

 $15,000.    ALHUSSEINI’s BofA statements also falsely represented

 that ALHUSSEINI’s bank accounts were worth between approximately

 $21 million to $25 million. In fact, ALHUSSEINI’s personal bank

 accounts during this period held between approximately $11,000 and

 $500,000.

       37.   SANBERG directed ALHUSSEINI and GRAPHIC DESIGNER 1 to

 create these falsified Fidelity brokerage statements and BofA

 statements.      For example:

             a.     Records provided by ALHUSSEINI reflect that on

 October 9, 2020, SANBERG coordinated a time to meet with GRAPHIC

 DESIGNER 1 through ALHUSSEINI to guide GRAPHIC DESIGNER 1 in

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 falsifying ALHUSSEINI’s monthly statements to submit to INVESTMENT

 ADVISER 1.       I have reviewed messages sent via Signal in which

 SANBERG directed ALHUSSEINI to take a screenshot of his BofA

 welcome    screen       and   ALHUSSEINI’s          personal    BofA   statement     and

 Fidelity statement.             SANBERG directed ALHUSSEINI to send those

 materials to GRAPHIC DESIGNER 1, who would then send the falsified

 statements to SANBERG through Signal.                   ALHUSSEINI sent his true

 BofA and Fidelity statements and screenshots to GRAPHIC DESIGNER

 1 via email and told GRAPHIC DESIGNER 1 that SANBERG asked to

 receive the files through Signal.

             b.      I    have    reviewed       a   Signal     message    provided   by

 ALHUSSEINI which shows that the next day, October 10, 2020, SANBERG

 sent an attachment to ALHUSSEINI and advised ALHUSSEINI, “This is

 to add to what you send to [INVESTMENT ADVISER 1].”                      Based on other

 records from ALHUSSEINI, I believe that attachment contained a

 falsified list of ALHUSSEINI’s assets, and that ALHUSSEINI sent

 this falsified document to INVESTMENT ADVISER 1 on October 10,

 2020, at SANBERG’s direction.
             c.      On February 7, 2021, ALHUSSEINI sent SANBERG a

 message with a screenshot from a Fidelity customer support chat,

 indicating that due to a Fidelity policy change there was no

 January account statement available for ALHUSSEINI’s Fidelity

 account.   ALHUSSEINI asked SANBERG, “Suggestions?                     There is no jan

 [sic] statement.”         SANBERG responded, “hmm.             that's easy.     We can

 use the prior statement as the basis.”                   ALHUSSEINI replied, “Ok.

 Wanted to check in.             Sending to [GRAPHIC DESIGNER 1] now.”                On


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 February    10,   2021,    ALHUSSEINI    submitted       a    falsified    Fidelity

 account statement for January 2021 to INVESTMENT ADVISER 1.

       38.    Based on records from ALHUSSEINI, I know that between

 January 2023 and February 2023, while the scheme was still ongoing,

 SANBERG was also included on emails between ALHUSSEINI and GRAPHIC

 DESIGNER 1 attaching copies of ALHUSSEINI’s falsified Fidelity and

 BofA statements, as well as copies of ALHUSSEINI’s true Fidelity

 and BofA statements.

       39.    I know from records provided by INVESTMENT ADVISER 1

 that nearly all of the email transmissions of Fidelity brokerage

 statements    and   BofA    bank   statements     to     INVESTMENT       ADVISER 1

 transmitted between April 2020 and March 2023 were accompanied by

 a certificate of compliance, in which ALHUSSEINI affirmed by

 electronic signature that the account statements, were “in each

 case true, correct and complete copies.”                 These representations

 were materially false because the account statement balances had

 been altered as described above.

 E.    SANBERG Defaults on the Refinanced Loan Causing At Least

       $145 Million in Loss to INVESTOR FUND B


       40.    In November 2022, SANBERG defaulted on the loan to

 INVESTOR FUND B, and to secure a forbearance, ALHUSSEINI signed a

 December 5, 2022, amendment with INVESTOR FUND B that raised the

 put option price to $75 million.

       41.    On June 27, 2023, after SANBERG defaulted on the $145

 million loan, INVESTOR FUND B exercised the November 2021 put

 option that contractually required ALHUSSEINI to pay INVESTOR

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 FUND B $75 million in exchange for approximately 10.3 million

 shares    of    COMPANY     A   stock.    I    know   from     records    provided   by

 INVESTMENT ADVISER 1 that ALHUSSEINI has not performed on the

 November 2021 put option and has not purchased the shares from

 INVESTOR FUND B.

                                   V.      CONCLUSION


         42.    SANBERG and ALHUSSEINI conspired to defraud INVESTOR

 FUND B by falsely inflating ALHUSSEINI’s available assets by tens

 of   millions       of    dollars.     ALHUSSEINI’s        purported      assets   were

 intended to secure ALHUSSENI’s purchase of the 10.3 million shares

 of COMPANY A stock held as collateral against the $145 million

 loan.    When SANBERG defaulted on the $145 million loan, ALHUSSEINI

 also defaulted on the November 2021 Put Option.

         43.    As a result of SANBERG’s fraud, INVESTOR FUND B had

 losses of at least $145 million, which was loaned to SANBERG in

 reliance       on   the    falsified     financial      statements       that   SANBERG

 directed ALHUSSEINI to submit to support the put options.

         44.    On February 28, 2025, law enforcement conducted

 physical surveillance in Orange, California outside of a home

 believed to be used by SANBERG.                Law enforcement observed an

 individual believed to be SANBERG exit the home and depart in a

 vehicle.

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       45.   For all of the reasons described above, there is probable

 cause to believe that SANBERG conspired to commit wire fraud, in

 violation of 18 U.S.C. § 1349.


 Attested to by the applicant in
 accordance with the requirements
 of Fed. R. Crim. P. 4.1 by
 telephone on this 28th day of
   bruary, 2025.
 February,


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